                Case 3:20-mj-01029-AHG Document 28-3 Filed 04/27/20 PageID.146 Page 1 of 4

    BP-A377.058
                              IIPRISONER REMAND                                 CDFRM
    FEB 04
 U .S . DEPARTMENT                             OF JUSTICE                                                                                                FEDERAL BUREAU OF PRISONS
                              I
                              I
 ARRESTING OF~CER   WILL COMPLETE ALL REQUIRED DATA                                                                           Register          Number
 ON THIS FORM I RIOR TO COMMITTING TO MCC/MDCs.                                                                                                                                     P
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 Name: Last


 AKAs:
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 Race       (Check)                     Sex      (Check)                   Ethnic           Origin                 (Check)                   D.O.B.
     /W
 - B -            -
                    A         I
                            -;-
                                  I     h       -
                                                  F                        _Hispanic                   or
                                                                                                               -
                                                                                                                 Other
                                                                                                                                                         SSN:                      FBI:
                                                                                                                                                                                   INS:
                                                                                                                                                                                   Other:

 CHARGES   CATE1GORY
     CHECK           OF CHARGES(S):
     ~     FEL0NY             MISDEMEANOR                                                                           CIVIL CONTEMPT                                       MATERIAL         WITNESS
OTHER                         I
        NARRATIVE'              _                                                   ,.I     +;.-h_.
        Title: ___j£_ usc:/V:l9                        frct •••.
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        NARRATIVE i                                                                         I          Ji' ry                                               ideA,'!/Cc,I;o---..   c/o   C ••• .,.vo-""-   nI       a_..•..(jL€/c,f,     'c.o>..rh,
                  1'( USC: 102.«
        Title : --,-                                   fro,,,,,)        N'd      Y'titl/-ec        (.IC 'oj;
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Date of Offen~e:                      03/0<//zo2.0                     Date of Arrest:                                                                     of   Arrest: "3"Fl< Airport·                   - Ov...C!..eJ1.'s       IVY
                              I                                                                                                                                                                                               /



State of BirtJ                          Country        of Birth                      Citizenship                         Current              Address



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Height          un 0:'.""               Weight      V'i lcj     I.      '
                                                                     Halr               Eyes                                  Scars          / Marks     / Tattoos
Ft: .)             In:      I?             J   C) &, II?             ()ro IJ"           6f'J1->'~                                   ¢            f2             rE
Injuries           / Me( ication                                                                                              Emergency          Contact: (Name, Address,                      Phone
                                                                                                                              Number)                                ,
        I                                                                                                                                                                         \\~

Arraigned
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  y    IN   -
                             II _ySentenced
                                         ./N
                                                            I   Special Handling:
                                                                Remarks:   ,                                   -
                                                                                                                    Y   or /N
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       IN                                                  IN                                                           IN                                        IN                                                       •
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Remanding            Offi1jCial (Name)                                                             Agency/District                                                Phone/24        Hour Number
Sign
Print

       OUT                                                 OUT                                                          OUT                                       OUT                                      OUT
Removing          Off.icial (Name)                                                                 Agency/District                                                Phone/24        Hour Number
Sign
Print



 Receiving             Offkcial          (Name)                                 Date      / Time
 Sign                         I                                                         7,'j Of!'                                                                                            Date / Time

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 Name Search CFmPleted by:                                                      ARS Code               Staff Init.
                                                                                Add AKA' -s--
 Clearance/Separate                      Checked           by:                  Create Cash Account=- __------------                                              _
                              I                                                 Deposit Cash        Amt.
                                                                                Detainers     ---
                                                                                Court
                                                                                Clothing Bag-#


Original-for I~M as Remanding-Removal  receipt; Copy-for Control as Removal Receipt (N C); Copy-For
Removing OffiCj.al; Copy-for Control as Remandlng Recelpt (Inmate); Copy-INS-Alien in Custody.
(This form may be replicated                               via WP)                                  This form replaces                           BP-S377(58)           and BP-377 (58) of JUL 91




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                  Case 3:20-mj-01029-AHG Document 28-3 Filed 04/27/20 PageID.147 Page 2 of 4

~77.058                         PRISONER REMAND                                         CDFRM
  FEB 04
 U.S. DEPARTMENT                                      OF JUSTICE
           I '
 ARRESTING' OF~ICER WILL COMPLETE ALL REQUIRED DATA:                                                                           Register                  Number      -3
 ON THIS FORM   RIOR TO COMMITTING TO MCC/MDCs.
                                                                                                                                                         ~ 15"....0 b
 Name: Last                     I                                             First                                            Middle
         F',rsCjlv                                                                      I(lri I)                                                       Vi Civrovi ciA.
 AKAs:

 Race        (Check)                        Sex          (Check)                   Ethnic              Origin            (Check)                       .O.B.      SSN:                FBI:
      B./W             A                     /M               F                    _Hispanic                 or           Other
                                                                                                                                                                                      INS:
                                                                                                                                                                                      Other:
 CHARGES
     CHECK CAT GORY OF CHARGES(S):
     ~     FELI'NY          MISDEMEANOR                                                                                   CIVIL CONTEMPT                                       MATERIAL    WITNESS
 OTHER
        NARRATIVE,                                                                                 I       '-h.
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        NARRATIVE i
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 State of BirtA                             Country                or Birth                  Citizenship                       Current                 Address


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                 H?l   C-tv'


                     In:       1%
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 Injuries            / Medication                                                                                                  Emergency               Contact: (Name, Address,           Phone
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 Arraigned
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   Y    IN   -
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                                                                        I Remarks:
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        IN                                                           IN                                                       IN                                         IN                           IN
 Remand~ngJ18ffJci~l ~ame)                                                                                Agency/District                                                Phone/24    Hour Number
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        OUT                         I                                OUT                                                      OlJT                                       OUT                         OUT
 Removing            Offic~al              (Name)                                                         Agency/District                                                Phone/24    Hour Number
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 Print
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     Receiving           Offlcial                (Name)                                 Date           / Time
     sign.l                                                                                        /,'j Off'
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     clearance/Separate                          Check                  y                Create Cash.A     .unt.~~                                                       c-
                                    I                                                    Deposit Cash"         Arnt.
                                    I             .                                      Detainers
                                                                                         Court
                                                                                         Clothing Bag #
                                                                                                       .


                                    I
 Original-for I$M as Remanding-Removal receipt; Copy-for Control as Removal Receipt (NC C); Cop
 Removing Offic'al; Copy-for Control as Remandlng Recelpt (Inmate); Copy-INS-Alien in Custody.
 (This form may be replicated                                           via WP)                            This form replaces                              BP-S377(58)         and BP-377(58)      of JUL 91
   Case 3:20-mj-01029-AHG Document 28-3 Filed 04/27/20 PageID.148 Page 3 of 4
  BROEX 535*08 *                 FEDERAL BUREAU OF PRISONS                            *      03-10-2020
PAGE 001       *                    IN-TRANSIT DATA FORM                              *      11:33:17


NAME        :   FIRSOV, KIRILL VICTOROV
REGISTER NO:    83815-053                                    DOB (AGE) :
RACE / SEX.:    WHITE / MALE                                 ETHNIC ... : OTHER THAN HISP
RESIDENCE ..:   MYTISCHI, RS                                 RSP OF ... : BRO A-PRE

DESTINATION:    fl3.I I £k                             LEVEL/CUSTODY:             UNASSG      /IN
                                                       PROJ REL DATE:
ESCAPE     :                                           DETAINERS .... :
                                                          NO
VIOLENCE   :                                           NOTIFICATIONS:
                                                          NO
HGT.: 511      HAIR: BN                                PSYCH ALERT .. :
                                                          NO
WGT.: 196      EYES: BN
OFFN/CHG RMKS: TITLE 18 USC1028 FRAUD IN CONNECTION WITH IDENTIFICATION
               TITLE 18 USC1029 FRAUD IN CONNECTION WITH ACCESS DEVICES

 *NOTE* SENSITIVE-LIMITED       OFFICIAL USE CMC AND SEPARATEE HARDCOPY DATA ATTACHED




********************************************                    Last     Name

                                                                FIRSOV
                                                                First     Name
GENERAL PHYSICAL APPEARANCE        (COMMENTS):
                                                                KIRILL
                                                                Middle     Name     Suffix

                                                                VICTOROV
                                                                Height              Weight
                                                                5'11"               196
                                                                Hair                            Eye

LIST ANY NON-ROUTINE      SECURITY NEEDS:                       BROWN                           BROWN
                                                                Regno                           Facility
                                                                83815-053                       BRO




NAME OF NEAREST RELATIVE OF INMATE:

CITY AND STATE OF RELATIVE                 :

ADDITIONAL COMMENTS:




**************************************************************************


NOTE:   STATEMENT TO TRANSPORTING OFFICER:
"SENSITIVE - LIMITED OFFICIAL USE DOCUMENT - SECURITY MUST BE MAINTAINED."

TRANSPORTING OFFICER:                                          AGENCY:
                                                                                -------------------
PREPARED BY: V. MASON                          TITLE: SCSS                           DATE: 03-11-2020
    Case 3:20-mj-01029-AHG Document 28-3 Filed 04/27/20 PageID.149 Page 4 of 4
  BROEX 535*08 *            FEDERAL BUREAU OF PRISONS          *     03-10-2020
PAGE 002 OF 002 *        CIM CLEARANCE AND SEPARATEE DATA      *     11:33:17

REGISTER NO: 83815-053 NAME: FIRSOV

 REGISTER                       FIRST    ARS ARS        ARS        ARS QTR
 NUMBER     LAST NAME           NAME     FCL ASSIGN     DATE       TIME ASSIGN

 83815-053 FIRSOV               KIRILL   BRO A-PRE      03-09-2020 1910 GOl-414L




*****       FOI EXEMPT

POOl1       THIS INMATE HAS NO CMC ASSIGNMENTS
